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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                  -           -X
UNITED STATES OF AMERICA,
                               Plaintiff,

                                                                AFFIRMATION
            -against-                                           HCRlll(NRB)



ALWAR POURYAN, ET AL.
                        Defendants.
                                                X


       LEE A. GINSBERG, an attorney duly admitted to practice before the Court, hereby

affirms, under penalty of perjury that the following is true:


    1. I am the attorney for the Defendant Alwar Pouryan (the "Defendant") and I am

       fully familiar with the facts and circumstances of the instant case.

   2. This Affirmation is submitted in support of Defendant's motion, pursuant to Rule 12(b) of the

       Federal Rules of Criminal Procedure, seeking (1) an Order dismissing the Indictment for lack of

       jurisdiction; (2) an Order striking surplusage from the Indictment; (3) an Order requiring 404(b)

       type evidence at least one month prior to any trial date; (4) an Order requiring the government to

       provide Brady and related material; (5) an Order permitting the Defendant to join in all motions

       of his codefendants that are not inconsistent with the relief requested herein; (6) an Order granting

        such other relief as this Court deems just and proper.

    3. The relief sought should be granted for the reasons fully explained in the memorandum of law

        which accompanies the instant motion. All statements therein are made upon personal

        knowledge, or upon information and belief, the source of the information and the grounds for

       belief being my conversations with my client, and a review of discovery material.
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4. I further certify that pursuant to Local Criminal Rule 16.1 we have conferred with counsel for the

   government in an effort in good faith to resolve all discovery issues without the

   intervention of the court.



   WHEREFORE, the motion should be granted in all respects.



   Dated: New York, New York
          May 1,2012




                                                                LEE^X. GINSBERG/
